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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Energy Future Holdings Corp., et al.,! Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

Re: Docket No. 2361

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CERTIFICATION OF COUNSEL REGARDING ORDER GRANTING MOTION OF
THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR AN ORDER
REGARDING CREDITOR ACCESS TO INFORMATION AND SETTING AND FIXING
CREDITOR INFORMATION SHARING PROCEDURES AND PROTOCOLS UNDER
11 U.S.C. §§ 105(a), 107(b), AND 1102(b)(3)(A)

I, Justin K. Edelson, Esq., of Polsinelli PC, counsel to the official committee of unsecured
creditors (the “TCEH Committee”) of Energy Future Competitive Holdings Company LLC
(“EFCH”), EFCH’s direct subsidiary, Texas Competitive Electric Holdings Company LLC
(“TCEH”) and their direct and indirect subsidiaries, and EFH Corporate Services Company
(collectively with EFCH and TCEH, the “TCEH Debtors”), hereby certify as follows:

1. On October 9, 2014, the TCEH Committee filed the Motion of the Official
Committee of Unsecured Creditors for an Order Regarding Creditor Access to Information and
Setting and Fixing Creditor Information Sharing Procedures and Protocols Under 11 U.S.C. $$

105(a), 107(b), and 1102(b)(3)(A) [Docket No. 2361] (the “Motion”).

! The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of

the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, which are being jointly administered, a complete list of the debtors and the last four digits of their
federal tax identification numbers are not provided herein. A complete list of such information may be obtained on
the website of the debtors’ claims and noticing agent at http://efhcaseinfo.com.

* Although EFH Corporate Services is not a subsidiary of TCEH, for ease of reference EFH Corporate Services is
included in the definition “TCEH Debtors”.

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2. The objection deadline for the Motion was October 21, 2014 at 4:00 p.m. (ET)
(extended for certain parties).

3. The TCEH Committee received informal comments from: (i) the Debtors; (ii) the
Office of the United States Trustee; (iii) the Ad Hoc Committee of TCEH First Lien Creditors;
(iv) the Ad Hoc Committee of EFIH Unsecured Noteholders; and (v) the official committee of
unsecured creditors (the “EFH Committee”) of Energy Future Holdings Corp., Energy Future
Intermediate Holding Company, LLC, EFIH Finance, Inc., and EECI, Inc. (collectively, the
“Responding Parties”).

4, On December 15, 2014, the EFH Committee filed a joinder to the relief requested
in the Motion [Docket No. 3005].

5. The TCEH Committee has revised the form of order (the “Order”), which is
attached hereto as Exhibit A. The Order incorporates the comments of the Responding Parties
and includes the EFH Committee in the relief sought. Attached as Exhibit B is a blackline
showing the changes made to the Order as compared to the form of order originally filed with the
Motion.

6. Accordingly, the TCEH Committee and the EFH Committee respectfully request
that this Court enter the Order attached hereto as Exhibit A at its earliest convenience.

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Dated: Wilmington, Delaware

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December 15, 2014

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